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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

 

 

 

IN RE: INTERIOR MOLDED DOORS Lead Civil Action No. 3:18-cv-00850-JAG
INDIRECT PURCHASER ANTITRUST
LITIGATION

ORDER

This matter comes before the Court on the Indirect Purchaser Plaintiffs (“IPPs”) notice of
their intent to withdraw from the settlement with the defendants, Masonite Corporation and Jeld-
Wen, Inc. (ECF No. 306.) The Court has scheduled a hearing for January 25, 2021, to determine
if it should allow the IPPs to withdraw from the settlement. The Court ORDERS the parties to file
briefs addressing whether the Court should allow the IPPs to withdraw from the settlement. The
parties SHALL file briefs on the following schedule:

1) the IPPs shall file their opening brief by January 9, 2021;

2) the defendants shall file their joint response brief by January 18, 2021; and

3) the IPPs shall file their reply brief by January 22, 2021.

It is so ORDERED.

Let the Clerk send a copy of this Order to all counsel of record.

 

Date: 29 December 2020
Richmond, VA Is/ b 1

 

John A. Gibney, Jr./ /
United States District Judge

 

 

 
